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                          IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JAMES THOMPSON,                              )
                                             )       Civil Action No. 1:19‐cv‐07841
Plaintiff,                                   )       Honorable Thomas M. Durkin
v.                                           )
                                             )
SAFE AUTO INSURANCE GROUP, INC.,             )
SAFE AUTO INSURANCE COMPANY,                 )
                                             )
Defendants.                                  )


                           JOINT STIPULATION OF DISMISSAL
Plaintiff James Thompson and Defendants Safe Auto Insurance Group, Inc. and Safe Auto
Insurance Company, hereby stipulate pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii)
that this action be dismissed with prejudice. All parties shall bear their own attorney’s fees and
costs.


Dated: August 5, 2021




Plaintiff Pro Se                                           Attorney for Defendants
/s/ James Thompson                                         /s/ Timothy J. McCaffrey
PO Box 597123                                              Timothy J. McCaffrey (IL ARDC 6229804)
Chicago Il 60659                                           Eversheds Sutherland (US) LLP
                                                           900 North Michigan Ave., Ste. 1000
                                                           Chicago, Illinois 60611
                                                           P: 312.535‐4445
                                                           F: 312.724.9322
                                                           timmccaffrey@eversheds‐sutherland.com
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                                   CERTIFICATE OF SERVICE

        The undersigned, an attorney for Defendants Safe Auto Insurance Group, Inc. and
Safe Auto Insurance Company hereby certifies that on August 5, 2021, he caused a true and
correct copy of the foregoing Joint Stipulation of Dismissal to be filed with the Clerk of the
Court using the CM/ECF system and to be emailed to Pro Se Plaintiff James Thompson at
jimthomslaw@gmail.com.



                                                     /s/ Timothy J. McCaffrey
